As I see this case, the evidence is partly circumstantial and partly direct, and therefore the court should not be required to charge the jury so as to indicate that the evidence was wholly circumstantial. It is not necessary to prove the whole case by direct evidence in order to take it from without the strict rule applying in cases where circumstantial evidenceonly is relied on. While it might be true that the evidence going to show the corpus delicti, that is the commission by some one of the crime of murder, may be technically circumstantial in character; yet the two proven declarations by the defendant, that he at least actively participated in the stabbing of the deceased, were direct and not circumstantial, not as a confession directly showing that he was guilty of the crime of murder, but as directly showing that he was guilty of murder, if it were otherwise shown by circumstantial evidence that the homicide was murder.
                      No. 15727. FEBRUARY 6, 1947. *Page 854 